              Case 1:11-cr-00354-JLT Document 597 Filed 06/19/15 Page 1 of 2

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 8
                                IN THE UNITED STATES DISTRICT COURT
 9
                                   EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                          CASE NO. 1:11-CR-354 LJO

12                                Plaintiff,            ORDER DENYING DEFENDANT’S MOTION
                                                        PURSUANT TO TITLE 18 U.S.C. § 3582(c)(2)
13                         v.

14   JESUS RAMON SERRANO,

15                               Defendant.

16

17          The defendant has filed a motion under 18 U.S.C. § 3582(c)(2), seeking a reduction in his

18 sentence on the basis of Amendment 782 to the Sentencing Guidelines which revised the Drug Quantity

19 Table in USSG § 2D1.1 and reduced by two levels the offense level applicable to many drug trafficking

20 offenses. The Government has opposed the motion on the basis that the defendant is not eligible for a

21 reduction under U.S.S.G. § 1B1.10. The Court hereby denies the motion.

22          Section 3582(c)(2) authorizes district courts to modify an imposed sentence “in the case of a

23 defendant who has been sentenced to a term of imprisonment based on a sentencing range that has

24 subsequently been lowered by the Sentencing Commission.” United States v. Dunn, 728 F.3d 1151,

25 1155 (9th Cir. 2013). Effective November 1, 2014, the Commission promulgated Amendment 782,

26 which generally revised the Drug Quantity Table and chemical quantity tables across drug and chemical
27 types. The Commission also voted to make Amendment 782 retroactively applicable to previously

28 sentenced defendants.

      ORDER DENYING DEFENDANT’S MOTION TO REDUCE
      SENTENCE                                          1
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              Case 1:11-cr-00354-JLT Document 597 Filed 06/19/15 Page 2 of 2

 1          However, pursuant to U.S.S.G. Section 1B1.10 (a)(2)(B): “A reduction in the defendant’s term

 2 of imprisonment is not consistent with this policy statement and therefore is not authorized under 18

 3 U.S.C. § 3582(c)(2) if . . . an amendment listed in subsection (c) does not have the effect of lowering the

 4 defendant’s applicable guideline range.” U.S.S.G. § 1B1.10 (a)(2)(B). A district court’s authority to

 5 modify a sentenced is constrained by the Sentencing Commission. Dillon v. United States, 130 S.Ct.

 6 2691 (2010);

 7          In this case, the final Presentence Report recommended a base offense level of 32 pursuant to

 8 USSG § 4B1.1, as the defendant was a career offender (due to two prior drug trafficking offenses) and

 9 the offense level was the same as the resulting offense level under USSG § 2D1.1. The career offender

10 guideline is unaffected by the recent drug guideline amendment, and while the defendant’s drug offense

11 level may have been lowered, the career offender offense level controls the sentencing in the defendant’s

12 case. Section 1B1.10 directs: “the court shall substitute only the amendments listed in subsection (c) for

13 the corresponding guideline provisions that were applied when the defendant was sentenced and shall

14 leave all other guideline application decisions unaffected.” U.S.S.G. § 1B1.10 (b)(1). Accordingly, the

15 defendant may not receive any relief under Section 1B1.10.

16          The Ninth Circuit has addressed the career offender scenario with regard to a retroactive

17 amendment to the crack guideline, and held that relief was unavailable for this reason. United States v.

18 Wesson, 583 F.3d 728, 731 (9th Cir. 2009). Where a defendant is sentenced as a result of a finding that

19 he is a career offender, he is not sentenced “based on a sentencing range that has been subsequently

20 lowered by the Sentencing Commission.”

21          The defendant’s motion pursuant to Section 3582 is hereby denied.

22 IT IS SO ORDERED.

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        Dated:    June 19, 2015                             /s/ Lawrence J. O’Neill
24                                                    UNITED STATES DISTRICT JUDGE

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      ORDER DENYING DEFENDANT’S MOTION TO REDUCE
      SENTENCE                                          2
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